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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

STEPHEN MOYER AND KEVIN MOYER,

                       Plaintiffs,

               -against-                                   CASE NO.: 7:17-cv-06911-NSR

SUMMIT RECEIVABLES, a Nevada corporation,
and ANTHONY GUADAGNA, individually,

                       Defendants.



                             JOINT NOTICE OF SETTLEMENT

       PLEASE TAKE NOTICE that Plaintiffs STEPHEN MOYER and KEVIN MOYER

(“Plaintiffs”) and Defendants SUMMIT RECEIVABLES and ANTHONY GUADAGNA

(“Defendants”), by and through their respective attorneys of record, respectfully inform this

Honorable Court that the parties have reached a settlement in this case. The Plaintiffs anticipate

dismissing their case with prejudice, within thirty (30) days.

       WHEREFORE, the parties respectfully request that all pending dates and filing

requirements be vacated and that this Honorable Court set a deadline within thirty (30) days from

the present date for filing a Dismissal as to Plaintiffs, Stephen Moyer and Kevin Moyer.

 Dated: October 25, 2018                    Respectfully submitted,


                                            /s/ Cami M. Perkins
                                            Cami M. Perkins
                                            Nevada Bar Number: 9149 (Admitted Pro Hac Vice)
                                            HOLLEY DRIGGS WALICH FINE
                                            WRAY PUZEY & THOMPSON
                                            400 South Fourth Street, Third Floor
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                                            E-mail: cperkins@nevadafirm.com
                                            Counsel for Defendants




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Dated: October 25, 2018          Respectfully submitted,


                                 /s/ Michael S. Agruss
                                 Michael S. Agruss (Admitted Pro Hac Vice)
                                 Illinois State Bar Number: 6281600
                                 AGRUSS LAW FIRM, LLC
                                 4809 N Ravenswood Ave, Suite 419
                                 Chicago, Illinois 60640
                                 Telephone:      (312) 224-4695
                                 Facsimile:      (312) 253-4451
                                 E-Mail: michael@agrusslawfirm.com
                                 Counsel for Plaintiffs

                                 IT IS SO ORDERED



                                 THE HONORABLE NELSON S. ROMÁN
                                 UNITED STATES DISTRICT JUDGE

                                 DATED: _________________________




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                            CERTIFICATE OF SERVICE

     I hereby certify that on the 25th day of October, 2018, I sent via electronic mail the

foregoing JOINT NOTICE OF SETTLEMENT to the following:

     Michael Agruss, Esq.
     Agruss Law Firm, LLC
     4611 N. Ravenswood Avenue, Suite 201
     Chicago, Illinois 60640
     Email: michael@agrusslawfirm.com




                                                /s/ Norma S. Moseley
                                                Employee of Holey Driggs Walch, et al.




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